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A 0 245B (Rev 06/05) Sheer 1 - Judgment in a Criminal Case



                                 UNITED STA TES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAh.1PA DIVISION



UNITED STATES OF ,4h,IERICA                                           JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER:      897-cr-21-T-23TGW
                                                                      USM NUMBER:       49212-018
VS .




MAYELIK PEREZ
                                                                      Defendant's Attorney: W. Aramis Hernandez, ret

THE DEFENDANT:

X pleaded guilty to count ONE of the Second Superseding Information.

TITLE & SECTION                           NATURE OF OFFENSE                           OFFENSE ENDED                     COUNT

18 U.S.C. $ 4                             Misprision of Felony                        January 10, 2007                   ONE


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. Thc sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Counts ONE and FIVE of the Indictment and Count ONE of the Superseding Inl'ornlation are dismissed in accordance with the
plea agreement.

IT IS FURTHER ORDERED that the defendant must notify h e Unitcd States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordcred to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstar~ces.


                                                                                      Date of Imposition of Sentence: August 21, 2007




                                                                                                                                        I
                                                                                           STEVEN D. MERRYDAY
                                                                                      UNITED STATES DISTRICT JUDGE

                                                                                      DATE: August ~ % 0 0 7
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A 0 245B (Rc\, U6;051 Shcct 1 - Probatton (Judgrncnr in a Cr~rninaiCase)


De kndant :           h1AYELIN PEREZ                                                                         Judgment - Page 2of 5--
Case No. :            8:07-cr-2 1-T-23TGW
                                                                           PROBATION

The defendant is hereby placed on probation for a term of TWELVE (12) MOR'THS as to tlie Second Supersccling Information.

         While on supervised release, the defendant shall not cornlit another federal, state, or local crime, and shall nor possess n
firearm, ammunition, or destructive device as defined in 18 U.S.C. $ 92 1.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           :luthorizes random drug testing no1 to exceed 104 tesls per year.

           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
           of future substance abuse.

           The defendant shall cooperate in the collection of DNA as directed by tlie probation officer.

           If this judgment iniposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant n~uslcomply with the standard conditions that have been adopted by this court as well as with ,my additional
           conditions on the altached page.

                                               STANDARD CONDITIONS OF SUPERVISION
           thc defendan1 shall not leave the judicial district without (he pcrrnission of the courl or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and conlplete written report within the first five
           days of each month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities:

           the defendant shall work regularly at a lawful occupation, unless excused by the probation oficer for schooling, training, or
           other acceptable reasons;

           the defendant shall nolily the probation officer at least ten days prior to any change in residence or employmenl;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance. or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity. and shall not associate wilh any person
           convicted of a felony, unless granted permission to do so by the probarion officer;

           the defendant shall permit a probation officer to visit h i ~ nor her at any time at home or elsewl~ereand shall permit contlscation
           of any contraband obscrved in plain view by the probation ol'l'icer:

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;

           the defendant shall not enter inlo any agreement to act as an informer or a special agent of a law enforcement agency without
           the pernlission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by thc defendant's criminal
           record or personal. history. or characteristics and shall l~ennitthe probation officer to make such notifications and to confirm the
           defendant s comphance w t h such not~ficationrequ~renient.
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A 0 245B (Rev 06/05) Sheet 4C - Probation (Judgment i n a Criminal Case)

Dtt fendant:          MAYELIN PEREZ                                                      Judgment - Page 3 of 5
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                                               SPECIAL COKDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of probation:


X
-          If' the defendant is deported, she shall not re-enter [he United States without the express pe~lnissionol'the appropriate
           governlnental authority, currently the United States Department of Homeland Security.
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A 0 24% (Rev 06/05) Sheet 5 - Criminal       Penalties (Judgment in ;I Criminal Case)
Defendant:           h4AYELIN PEREZ                                                                  Judgment - Page 4 of 5
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                                            CRIMINAL MONETARY PENALTIES


          The defendam must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                               Assessment                              Fine                              Total Restitution


          Totals:              $100.00                                 $ waived                          $




          The determination of restitution is deferred until                .     An Amended Judgment irz a Criminal Case (.40 245C) will
          be entered after such determination.

          The defendant must make restitution (including conlnlunity restitution) to the following payees in the amount listed
          below.

          If the defendant makes a partial payment, each payee sball receive an approximately proportioned payment, unless
          specified orherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. 8
          3664(i), all non-federal victims must be paid before the United States.



                                                 Total Loss*                       Restitution Ordered                   Prioritv or Percentage




                               Totals:           S                                L

            Restitution amount ordered pursuant to plea agreement $
            The defendant must pay interest on a line or restitution of more than S2.500, unless the restitution or fine is paid in full
            before the fil'trcnth day afier the date of the j u d g ~ ~ ~ epursuant
                                                                            nt,     to 18 U.S.C. S 3612(f). A11 of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U .S.C. 5 36 12(g).
            The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine                  - restilution.

          -          the interest requirement for the - fine - restitution is modii'ied as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 1 10A, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06:05) Sheet 6 - Schedule of Payments (Judgment in a Crirninal Case)

Defendam:             MAYELIN PEREZ                                                        Judgment - Page         of 5--
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                                                           SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.           X        Lump sum payment of $ 100.00 due immediately, balance due
                                  - not later than                        , or

                                  - in accordance - C , - D, - E or - F below: or
B.         -                                      (may be combined with -C, -D. or -F below); or
                      Payment to begin i~n~nediately
C.         -          Payment in equal                 (e.g.. weekly, monthly. quarterly) installments of $             over a
                      period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                      date of this judgment; or
D.         -          Payment in equal                (e.g., weekly, monthly. quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
E.         -          Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
F.         -          Special instructions regarding the payrnent of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this judgment imposes imprisonment. payment of criminal monetary
~ e n at lies is due during imprisonment. All criminal monetary penal ties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made ro the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
        Defendant and Co-Defendmt Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount, and corresponding payee. if appropriate:


-          The dekndant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) co~nrnunityrestitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
